                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:09-cr-130

UNITED STATES OF AMERICA                  )
                                          )
                  v.                      )                             ORDER
                                          )
MOISES GARDUNO VALENCIA (3)               )
__________________________________________)

       THIS MATTER comes before the Court upon the defendant’s pro se motion for trial

documents relating to his initial appearance, guilty plea, hearing, and sentencing hearing.

(Document No. 128). The defendant apparently seeks transcripts of these proceedings for his

preparation of a 28 U.S.C. § 2241 attack on his sentence. (Id. at 1).

       To obtain transcripts at government expense, a defendant must show that he is indigent

and that the transcripts “are needed to decide the issue presented by the suit ...” 28 U.S.C. §

753(f). A prisoner is not entitled to free transcripts without a showing of need, merely to comb

the record in hopes of discovering some flaw. United States v. Glass, 317 F.2d 200, 202 (4th Cir.

1963). Here, the defendant has not indicated any issue for which he believes the requested

transcripts are necessary. Additionally, the requested transcripts do not pertain to any pending

suit or appeal.

       IT IS, THEREFORE, ORDERED that the defendant’s request for transcripts is

DENIED.



                                                 Signed: November 15, 2012




       Case 3:09-cr-00130-RJC          Document 129         Filed 11/15/12      Page 1 of 1
